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                  EXHIBITB
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                                               UNITED STATES DISTRICT COURT

                                       fOR THE EASTERN DISTRICT OF CALIFORNIA

                                       AND THE NORTHERN DISTRICT OF CALIFORNIA

                                                              --000--

                             RALPH COLEMAN,      et al.,



                                              Plaintiffs,



                                      vs.                                         No. CIV S 90-0520

                                                                                      LKK-JFM P

                             ARNOLD SCHWARZENEGGER, et al.,



                                              Defendants.
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(...
                                                          DEPOSITI()N OF

                                                   JAMES MARQUART,        Ph.D.



                                                          October 3,    2008




                             REPORTED BY:      KAREN A. FRIEDMAN, CSR 5425              JOB # 413241




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             Q.      What she's suggesting is, reserve parole for

         high-risk offenders.        Is that something you agree with?

             A.      Yes.     Because it is a scarce resource.

             Q.      Let's go to your supplemental report.

                     So, you produced four graphs which compare the

         rate of incarceration in California to the crime rate.

         Right?

             A.      Yes,   sir.

             Q.      And basically, you conclude that -- well, you

         conclude, I don't know, it seems like you conclude that

         you don't know whether the incarceration rate has an

         effect on the crime rate.         Is that right?

             A.      What I'm saying is, by showing those graphs,

         one can easily conclude that, by golly, by locking up

         all these people, we had a drastic reduction in the

         crime rate.        One could tumble to that fact if we're not

         careful.

              Q.     Right.

             A.      What I'm trying to say is that these charts

         illustrate that something is going on that is related to

         those two things, and they do intersect.             But I'm not

         going to go to the wall and conclude that the observed

         relationship is as simple as is depicted.             There could
                                                                                    ,-
         be some other things that are going on that we're not

         aware of.


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(       1         Q.     Such as the age of the offender population;
        2    correct?
        3         A.     Right.     It could also be that the incarceration
        4    of second strikers, third strikers, when you take those
        5    people off the street, you're going to put a dent in the

        6    crime rate.        Those are high-volume offenders.
        7                So it could be that policies like that are

        8    contributing to that decline.

        9         Q.     But       that started in the '90s,      but the
       10    incarceration rate was -- I mean three strikes                 was

       11    somewhere in the '90s, I can't remember when.              And this
       12    incarceration rate and the crime rate were on the same
       13    path, all the way from 1980 something or other.
       14         A.     Yes.     So something is going on within the data.
       15         Q.     And as you saw, are you familiar with the

       16    example of New York, that New York cut its number of

       17    people in prison and its crime rate went down?              Are you

       18    familiar with that?

       19         A.     I read that in Mr. Aus.tin' s report.
       20         Q.     Right.     What does that suggest to you?
       21         A.     It's bizarre.

       22         Q.     Did you also read in Mr. Austin's report
       23    well, do you have any reason to believe that that is not
       24    correct?
       25         A.     I think it's bizarre.        I mean, why would you


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(       1    believe that any more than I would believe the
        2    prosecutors are telling me the truth?

        3            Q.     Well, because it's based on actual data.

        4            A.     Like I said, it's, the finding is      bizarre~

        5    That's all I can say.         It's very, very --

        6            Q.     And by "bizarre," you mean you don't believe
        7     it?

        8            A.     I have a hard time with that.      I would like to

        9     check it out myself.        So what you're saying is --

       10            Q.     It's not what I'm saying.

       11            A.     What he said is, by reducing the prison

       12    population you also reduced the crime rate.

       13            Q.     No.   He said the population of the prisons went

       14     down at the same time as the crime rate.
       15            A.     I don't know how that could happen.

       16            Q.     But if it did happen, what would i t suggest to
       17     you?

       18            A.     I just don't know how that would happen.

       19            Q.     You're an expert.     I'm allowed to ask you
       20     hypothetical questions.        This is a hypothetical
       21     question.       If you don't have the capacity to answer the
       22     question, you can say that.
       23                   But the question is, assuming those facts are
       24     true, what does that suggest to you in terms of your
       25     opinions in this case?


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             A.       That something is going on.

             Q.       But you don't know -- to paraphrase Buffalo

         Springfield, you don't know what it is.

             A.       I don't know about Buffalo'Springfield, but the

         idea of reducing the population and that i t has a

         subsequent, it lowers the crime rate, it doesn't even
                  I


         make any sense.

             Q.       Okay.     You've had his report for a couple of

         months now, correct?

             A.       Dh-huh.

             Q.       You've had adequate time to go to the

         Department of Justice website and the New York State

         website and look at the data and figure out if the data

         that he's talking about is true.         Right?

             A.       I could have.

             Q.       Okay.     You also saw in his report that when you

         compare the incarceration rates and crime rates in

         various states, you don't get a straight-line

         correlation, either.         Do you remember that part of his

         report?

             A.       I believe so.

             Q.       Do you think that's bizarre,       too?

             A.       I think it is.     It's strange.     How could you

         have a declining population and a        declin~ng      crime rate?

             Q.       It might be because the incarceration rate


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(       1    doesn't have that much of an effect on the crime rate.

        2    Isn't that possible?

        3        A.      It's a possibility.    We don't know.         The books

        4    have not been closed on that.          The other thing iS r      if

        5    you believe that r you might as well find that.

        6        Q.      Pardon me?

        7        A.      I said if you believe that to be the caser

        8    that's in fact what you end up finding.

        9        Q.      And you also know that Dr. Austin in his report

       10    analyzed various counties and looked at the rate by

       11    which they send, some of them send offenders to prison.

       12    And then compared counties which have high prison rates

       13    to the counties, to crime rate in counties which have

       14    low prison rates?

       15        A.      Yes.

       16         Q.     They were allover the map.         In other words, it

       17    didn't correlate; the counties that send the most people

       18    to prison didn't have the lowest crime rate, did it?

       19        A.       Yes, sir.

       20         Q.      That also suggests the number of people you

       21    incarcerate doesn't affect the crime rate,            does it?

       22         A.      Like I said, the research on it is not

       23    concluded at this point.

       24         Q.      But those facts do suggest that theory is truer

       25    isn't that right?


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(       1         A.     It suggests that particulqr theory; there is a
        2     theory.    But as far as it being true,     it's not, at this

        3    point in time.      That's his opinion.

        4         Q.     Well, it's also Dr. Petersilia's opinion, too.

        5    She made the same point, didn't she?

        6         A.     But if you look at the research at this point

        7     in time, it remains inconclusive at this point.

        8         Q.     And both o~ those people know a lot more about

        9    California corrections than you do.         Isn't that true?

       10         A.     She does, yes.

       11         Q.     And Dr. Austin?

       12         A.     He might, yes.

       13         Q.     You say in your report, on page -- you can put

       14     Dr. Petersilia's report away.        We're done with that.

       15                Do you have your report in front of you?

       16         A.     Yes, sir.

       17         Q.     Okay.   On page 7, please.     You're on page 7?

       18         A.     Yes, sir.

       19         Q.     What a coincidence.   You say that "Parolees" --

       20     this is at the bottom of paragraph 5.

       21                "If parolees are not assisted in securing such

       22     resources" -- and those are the resources we talked

       23     about earlier this morning --

       24         A.     Yes, sir.

       25         Q.      -- "upon their release and while incarcerated,


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(.       1    their chances of success are dismal."            Do you see that?

         2         A.     Yes, sir.

         3         Q.     We also talked about, this morning, the fact

         4    that according to counties, they haven't been able to

         5    obtain the financial resources they need to provide

         6    these services to all the parolees, right?

         7         A.     Correct.

         8         Q.     Is the fact that the State isn't         ~llocating

         9    those resources basically a political judgment, that

        10    they are willing to live with this level of criminal

        11    activity?

        12                MR. ANTONEN:     Objection.     Calls for speculation

        13    on behalf of the expert, and it's also on a topic he's

        14    not been designated to testify about.            To the extent

        15    you're comfortable offering an opinion,           go ahead.

        16                THE WITNESS:      I'm not an expert on the
        17    political climate of the state.

        18                MR. SPECTER:      Q.   Right.   But if public safety

        19    is        I'll represent to you that I just deposed the,

        20    someone from the Governor's office Wednesday.               He said

        21    public safety was paramount in their mind.

        22         A.      Dh-huh.

        23         Q.     And if providing these services would enhance

        24    public safety, which is what you believe -- correct?

        25         A.      Yes, sir.


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(            1           Q.   -- wouldn't you believe that an administration

             2    that was concerned about public safety would fund these

             3    programs?

             4                MR. ANTONEN:   Objection, calls for speculation.

             5                THE WITNESS:   I'm sure that public safety is on

             6    the top of their plate.      And there's no denying that.

             7    So I believe they're doing everything they can to

             8    protect public safety.

             9                But that's a political decision,     as to who is

            10    going to force them to unleash the resources.           What if

            11    the resources are not there?

            12           Q.   It's not a matter that they're not there.

            13    They're just not allocated.      California has the

            14    resources.     It's their choice to allocate them whichever

            15    way they so choose?

            16           A.   And that's a political decision.         That's up to

            17    elected officials, to make that happen.

            18           Q.   If they're not funding those programs, wouldn't

            19    they be jeopardizing public safety, in your opinion?

            20           A.   I'm not going to say that, no.
            21           Q.   If they did fund the programs would they be

            22    enhancing public safety?

            23           A.   I would hope they would.    It's the same as this

            24    chart over here.     Somebody could look at that chart and

            25    say,    "By golly, we need to lock up more people."         So I'm


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(        1    sure they're trying to do the best they can in terms of

         2    providing for public safety in the state.              But again,
        3     it's a political decision.

         4               And may I add that in our state,       that -- which

         5    is very similar to this case here -- the wolf was at the

         6    door,    just like this.

        7         Q.     Who is the wolf?

        8         A.     All of these issues: overcrowding, budget

         9    issues, the whole nine yards.        It all came crashing

       10     down.

       11                But the legislators, all, everybody got

       12     together and said "Enough is enough."         And that ',s what

       13     it's going to have to take.      Who is going to push it

       14     over the top?

       15         Q.      So you mean after the court order came down,

       16     everybody got together and developed a comprehensive

       17     solution to the problem?

       18         A~     They began working on it like that.

       19         Q.      They didn't do it until there was a court
       20     order, right?
       21         A.      Not -- it took some fuel to get .that done.             The

       22     court order was part of it.      The public was tired of it.

       23     All the rest of it played into it to build the proper
        24    level of prison capacity in the state to lock up these
        25    offenders.


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(       1         Q.     And did they fund programs?

        2         A.     I said they did, earlier today.        The budget of

        3    the prison system doubled or tripled.
        4         Q.     The programs, you mean?
        5         A.     Right.   All the way across.

        6         Q.     And what about parolees?
        7         A.     Like I said this morning, they added projects

        8    or programs to help these people reintegrate.               And one

        9    of them is Project Rio, R-i-o, Reintegration of

       10    Offenders, to help them find jobs in the community.

       11         Q.     Okay.
       12         A.     It doesn't happen overnight.       Like I said,

       13    we're going to be in the grave before all this goes

(      14    down.     Okay?
       15         Q.     So the way I see it is that -- the way I see

       16    what you're saying is that prisoners shouldn't be

       17    released, because there aren't enough reentry programs.

       18    Right?

       19         A.     I'm saying it would be good if we had those

       20    programs online before they got out, yes.
       21         Q.     Right.   But the, it's a political decision

       22    whether to fund those programs, right?
       23         A.     That's correct.
       24         Q.     So if the State continues not to fund those

       25    programs in a sufficient amount to deal with the parole,


                                                                     )
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(       1    to deal with the prisoners, should the prisoners stay in

        2    prison?
        3           A.      Well, that's what elections are for; vote them

        4    out.        That's what this country is, it's a democracy.

        5    Whether we like it or not; if you don't like it, vote

        6    with your feet.        Go to the ballot box and vote these

        7    people out of office.

        8                   Using the court as a back door or a

        9    sledgehammer to get it done, it can be done.

       10                   But either way,   like I say, we're going to be

       11    dead before this all transpires.             And I know that
       12    doesn't make you happy, but those are the facts.

       13.          Q.      What doesn't make me happy is the fact that
       14    there are unconstitutional conditions, because of the
       15    overcrowding.
       16                   MR. ANTONEN:   Objection.      The plaintiffs

       17    haven't proved it as the         pr~mary    cause.    Don, that's

       18    being litigated before the three-judge panel.
       19                   MR. SPECTER:   Thanks, Charles.        I'm really glad

       20     you told me that.
        21                  MR. ANTONEN:   You'~e   welcome, Don, you're

        22    welcome.
        23                  THE WITNESS:   I'm not trying to be a smart

        24    aleck.       Believe me, I'm not.     I respect your position, I
        25    respect what you're trying to do.            Believe me.      I have


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(        1    utmost respect to your position.

         2               MR. SPECTER:       Okay.    I appreciate that.

         3               THE WITNESS:      And I'm not disrespecting you or
        \4    trying to be flippant or play with you.

         5               MR. SPECTER:       I don't take it that way.

         6               THE WITNESS:       I'm basing my opinions on what
         7    transpired in a large state that parallels what happened
         8    here.    Because    ~he   people in our state wanted to do

         9    exactly what you're talking about here.

        10               Could we fix this and do it within a reasonable
        11    amount of time?       But we both know that legal

        12    institutions and political institutions probably have a
        13    different .frame of reference, and they operate
        14    differently.       And I'm not being condescending.
        15               MR. SPECTER:      And I don't take i t that way.
        16               THE WITNESS:       I just wanted you to know that
        17    I'm not jacking with you.

        18               MR. SPECTER:       I appreciate that.
        19        Q.     So in the best of all possible worlds,            assuming
        20    for the sake of argument that crowding is the cause of
        21    constitutional violations, you wouldn't have any
        22    objections to releasing the prisoners if the programs
        23    were in place?
        24        A.     I would not have any objections if the cell
        25    space was -- more cell space was brought online -- that


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          the programs were brought online.

                     That the programs were brought online, not only

          in terms of the parole system, to supervise them

          effectiveiy.       Because at the end of the day, we don't

          want them to return.       And that the programs were online

          in these counties, that if somebody needed

          substance-abuse help, or they needed help managing their

          money, or they needed a house insteaQ of living under a

          bridge, that all that stuff was put online to help these

          people.    Because we want to make a difference.

                     Right now, as the documents say,         the recidivism

          rate is 50 to 60 percent, without any programing.              So

          why would we want to release these people without any

          programing and 50 to 60 percent of them are going to

          come back?     It doesn't make any sense.

                     So why don't we try to do something as we're

          beginning the advance releases -- you have to do all

          this at the same time.       I'm not saying we've got to wait

          eight years for the programing to come online.             Maybe

          there's something in the interim that. we can do.

              Q.     What?

              A.     I don't know.     Get them going in prog~ams

          inside.    Change -- go back to the Legislature and change

          the sentencing structure.

              Q.     That would be good, too.


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              A.      Yeah.   And we did that in our state.

              Q.      You did.     That would be goqd.      I think that's a

         good possibility.

                     MR. ANTONEN:      One might say less intrusive

         relief.

                     MR. SPECTER:      Actually, it would be more

         intrusive if it was relief.

              Q.     I'm going to ask you to assume a legal fact.

         Which is that I'm not quite sure whether this is true or

         not true, but for the moment we'll assume that the court

         can't order programs, community programs -- let's say

         the court decides,        "Well, that's a political decision.

         We're not going to intrude on that.            The Legislature can

         do it if they want, they cannot do it if they want."

                      Let's also assume that the crowding is causing

         the constitutional violations and we have to release,

         say, 30-, 40,000 prisoners in order to get the

         constitutional conditions.

                     What would be your plan?

              A.      Again, my plan· would be to work with everybody

         at the table to mimic or parallel what's gone on in the

          Johnson case.       And that is, we're going togo extremely

          slow in any kind of a release order.

              Q.      Okay.

              A.      Again, my claim, or my opinion on this, is, I


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(        1    have utmost respect for the public safety of the

         2    citizens of California.       One crime, one victim, is
                                                   ,
         3    pretty hard to handle.

         4         Q.     The problem with your position, as I see it, is

         5    that right now, California is not doing anywhere near

         6    all it could do to enhance public safety.             And so if you

         7    release some more prisoners, it doesn't seem to me

         8    necessarily that it will make it any worse.

         9         A.     But why do you want to contribute to that?

        10    That's the thing.

        11         Q.     I want to make it --

        12         A.     The recidivism rate is already 60 percent.           Why

        13    would we want to release 30,000 -- just do the math.              If

        14    we have 100,000 people we release -- let's use even

        15    numbers -- if we release 100,000 of these beautiful

        16    people every year, and we know that -- what do you want

        17    to pick?     Fifty percent?

        18         Q.     Whatever you want.

        19         A.     Let's say 50 percent.    We'll be conservative.

        20                We know that 50,000 of these beautiful people

        21    are coming back, by doing nothing.·       We know that.

        22    They're coming back, they're contributing to it.             And we

        23    know that some level of it have committed crimes out

        24    here in the free community.        Whatever.

        25                If we add 30,000 to that, we know, based on


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(---       1    what we're doing now, by doing nothing, we know that

           2    15,000 of those beautiful people are going to come back.

           3    So we're adding 65,000 people more to the correctional

           4    system.   Of which, they can't handle that now.

           5              So why continue?    And I totally agree with

           6    Dr. Petersilia on that.      The concept is churning.         Why

           7    do we want to add more "churnees" to the pot?

           8         Q.   Then you agree that you can make changes so

           9    that more people got released, then the public would be

          10    safer?

          11         A.   It's possible.     But what I'm saying is you're
          12    adding all of this to the mix.       And if we do nothing,

          13    this 65,000, they're going to be released again next
          14    year on top of all the other ones we're releasing
          15    otherwise.      It's compound interest, and you're adding on
          16    top of that.

          17         Q.   I think that's the fallacy.        That's a really
          18    good analogy, and it illustrates what I think is the
          19    flaw in your argument.     Which is that interest grows at
          20    a fixed rate over time?
          21         A.   Uh-huh.

          22         Q.   Is it your opinion that parolees commit crimes

          23    at a fixed rate once they're out of prison?
          24         A.   No.    We don't know.     Half of all crime in our
          25    society goes unreported.      We don't know.


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(-.   I       1                My point is that by doing nothing              this is

              2     the crystal ball.        This is what we face if we do nothing

              3     and we release these people back here.

              4         Q.     I    see.

              5         A.     If we add programs, if we do things to slow

               6    this down, of which Dr. Petersilia has based her entire

              7     career on -- 25 years of research -- if we add programs

              8     to slow that down, I believe that we've gained a

               9    foothold and we're beginning to turn the corner on this.

             10                Because if you look at what happened in Texas

             11     -- and I hate to keep throwing that out all the time

             12     before all the implementation of all this stuff, the

             13     recidivism rate in that state was about the same thing.

             14     Was about 50 percent.         Like I've said, in the last two

             15     decades, they've added programs, the recidivism rate is

             16     like 39 percent.        It has made a difference.         We're never

             17     going to go down to zero.         We both know that.

             18         Q.     Right.

             19         A.     But doing nothing, we're going to stay at 60

             20     percent.       That's intolerable.

              21        Q.     You read the expert reports and -- I'm sorry,

              22    the expert panel report.         Th~t's the "~etersilia/Austin/

              23    Krisberg CDC report.

              24        A.     Yes, sir.

              25        Q.     And they say in there that length of stay is


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(         1   not related to recidivism.

         2         A.   That is correct.

         3         Q.   That's correct.       So if length of stay is not

          4    related to recidivism, that means that if you reduce the

          5   length of stay, the prisoner is not going to be

          6   committing any more crimes than he would if he stayed

          7   another year, or six months, whatever it is.               Right?

          8        A.   Jes, sir.
          9        Q.   So then if you reduce the length of stay for

        10     certain offenders to reduce the population, you wouldn't

        11    be adding to the recidivism rate.          Right?       Correct?

        12         A.   Why wouldn't you?

        13         Q.   You just said length of stay -- never mind.
 !      14         A.   You're still getting into the idea that 60
(


         15   percent of these people are going to come back.               It's

         16    not a shell game.

         17        Q.   I think I've beaten that horse --

         18        A.   It's buried.

         19             MR. ANTONEN:     How about we take a break?

         20             MR. SPECTER:     Sure.

         21              (Off the record.)

         22             MR. SPECTER:     Q.     Dr. Marquart,     do you have any

         23    reservations -- you've read the expert reports from many

         24    of plaintiffs' experts.        Correct?

         25        A.   Yes, sir.


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(       1         Q.   I notice there's a paragraph or two in your

        2     reports, there's a method about unnamed individuals

        3    coming up with their opinions.      Do you have any

        4    criticisms about their methodological approach?

        5         A.   Can you refresh my memory on that?

         6        Q.   I was hoping you would remember.           Paragraph B

        7     on page 2, "Plaintiffs' experts claims pertaining to the

        8    pernicious effects of crowding on prisoners has not been

        9    validated through a systematic empirical investigation

       10    based on CDCR data."
       11         A.   Right.

       12         Q.   Were you referring to Dr. Austin:s report when

       13     you said that?
       14         A.   I'm just saying that if we're going to examine
       15     the effects of crowding on California prisoners, we need

       16     to do an in-depth analysis of that.      Because I know that

       17     others had talked about their observations, and they've

       18     seen this and they've seen that.
       19              I agree if they saw it, that probably was the

       20     case.
        21             But again, let's take a look at it empirically.

        22    Let's see what we have.

        23        Q.   Let's go into that a little bit.           You're

        24    talking about, like, experts like Dr. Shansky and
        25    Dr. Stewart?     Or do you know who you're talking about


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(       1    here?

        2         A.     Whoever said that statement about the

        3    pernicious effects about crowding.            Maybe Dr. Haney."           Is

        4    that him?     Might have been him, or some others.

        5                MR. ANTONEN:   Do you have the reports?

        6                MR. SPECTER:   No.        Because it's his statement.
        7    He's the one who made it.            I'm just asking him what he

        8    meant.

        9                THE WITNESS:   What I mean by that,

       10    observational or anecdotal evidence would be one thing;
                                              ,
       11    to put it under the microscope for analytical scrutiny.
       12                MR. SPECTER:   Q.        But you understand that not

       13    everything can be quantified?
                                                                        v
       14         A.     If that's the case, how can we say that
       15    overcrowding leads to violence and other things, if we
       16    can't attempt to quantify that?
       17         Q.     You've said a lot of stuff and you don't have
       18    the data.
       19         A.     You're asking me.         This is a serious issue; the
       20    relationship between overcrowding and violence and
       21    other, a lot of other things.            We need more, above and
       22    beyond observational and other evidence.

       23         Q.     If they rely on the literature, the
       24    sociological literature, would that be an appropriate
       25    basis to draw some conclusions?


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(00.,        1           A.     It can be, correct.
             2           Q.     Would experience studying correctional

             3    insti tutions for 30 years be .another basis?
             4           A.     It counts.
             5           Q.     And being an expert and testifying in many

             6    cases concerning the effects of overcrowding, would that
             7    be a basis?
             8           A.     I think it's a bqsis, but it's not the end-all

             9    and the be-all.        It's not conclusive evidence.        Again,
            10    it's personal observation.

            11           Q.     Well, those things are more than you've done
            12    about this, right?
            13           A.     I have been involved with it myself.         I said I
            14    worked there.        It was an overcrowded institution.         I
            15    have had personal experience with that.            It's a serious
            16    issue.
            17                  Let's take a look at it empirically.         If you
            18    combine it all together, then maybe we have an accurate
            19    picture of this phenomenon.         That's all I'm trying to
            20    say.
            21                  I'm not negating what they say.        I say let's
            22    corroborate it.
            23           Q.      Fair enough.   So back to your supplemental
            24    report.
            25           A.     That comment over there was also, I sent that


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(        1    e-mail, or that -- we discussed that with Professor

         2    Trulson.        So I did send it to him via e-mail, and we did

         3    discuss it via telephone as well as via e-mail.

         4        Q.      So it seems to me the person you're addressing

         5    this comment to is Dr. Haney.

         6        A.      Others.     Wayne Scott and others.

         7        Q.      Do you know who Wayne Scott is?

         8        A.      I    know Wayne Scott.   I   know him personally.

         9        Q.      Who is he?     What has he done?

       10         A.      He's a neighbor of mine.        He lives right down

       11     the street from me.

       12         Q.      L see.     Does he have any particular                       /


       13     qualifications to make these observations?

(       14        A.      He's very qualified.

        15        Q.      What are his qualifications?

        16       . A.     He was a director of the prison system.           He

        17    came through the ranks.

        18        Q.      You worked there for two years.

        19        A.      Yes.

        20        Q.      Whose opinion should be valued more?

        21        A.      I believe the opinions of both of us combined

        22    together would be the best possible way to go.

        23        Q.      You say, on page 9 of your supplemental report,

        24    that "A prisoner release order, then, absent the

        25    necessary resources and infrastructure to support


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(       1    releases, will therefore produce no change regarding

        2    sustained reduction of the prison population."           Correct?

        3        A.    Yes, sir.

        4        Q.    But you're not saying that population reduction

        5    measures can't be taken, to effect sustained reduction

        6    of a prison population, without those resources and

        7    infrastructure, are you?

        8        A.    I'm saying what the statement says.

        9        Q.    Well, I'm asking you another question.

       10        A.    I believe the statement is clear.          That's what

       11    I believe.

       12        Q.    I'm asking you to tell me whether you agree or

       13    disagree with the question I    just asked.

       14        A.    Can you readdress the question, please.

       15         Q.   Sure.   Prisoner release orders -- let me go at

       16    it this way.

       17              "Prisoner release order," in your definition,

       18    is an order that they release offenders,       correct?

       19         A.   Yes, sir.

       20         Q.   There are other ways than releasing offenders?

       21         A.   Yes.

       22         Q.   You can stop people from coming in.

       23         A.   Yes, sir.

       24         Q.   You can change their sentence times?

       25         A.   Yes, sir.


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/        1        Q.      You can give them good-time credits?
(

         2        A.      Yes, sir.

         3        Q.      All of those things can lead to a sustained

         4    reduction of the prison population, right?

         5        A.      Yes, sir.

         6        Q.      And that would be without what you call the

         7    necessary resources and infrastructure?

         8        A.      It could happen, yes.

         9        Q.      Paragraph 7 on page 11, the second sentence

        10    says, "The substantial addition of parolees beyond

        11    historical release trends will further undermine the

        12    ability of parole officers to assist offenders

        13    post-release."     That's your statement, right?

        14        A.      Yes, sir.

        15         Q.     That assumes that the number of parole officers

        16    remains constant, correct?

        17        A.      Correct.

        18         Q.     And also assumes that the number of parolees

        19    who they have to supervise remains constant, correct?

        20         A.     Correct.

        21         Q.     So if you would either decrease the number of

        22    parolees they have to supervise or increase the number

        23    of parole officers, you could eliminate that problem.

        24    Right?

        25         A.     What problem?


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(        1        Q.    The problem you identified in that sentence;

        2     "undermines the ability of parole officers to assist the

        3     offenders post-release."

         4        A.    Yeah, I guess if we eliminate them from parole

         5    supervision, we don't have to worry about them.

         6        Q.    I mean, if you reduce the number of people on

         7   parole or supervise only the high-risk parolees, you

         8   would not undermine   t~e   ability of the parole officers,

         9    right?

       10         'A.   It's a possibility.      If they continue to

       11     recidivate at historical trends, they're going to bounce

       12     back, and those parole officers, three, four people down

       13     the line, might see the same people down the line.

       14         Q.    Your sentence says they're "assisting offenders

       15     post-release."   How do you know they're assisting

       16     offenders post-release?

       17         A.    By what I have read in the documents.          That's

       18     what I have read.

       19         Q.    Can you point me to which documents say that?
        20        A.    I thought some of the materials provided to me

        21    in the expert-panel report.

        22        Q.    And the expert-panel report is the document

        23    you're relying" on for that basis?

        24        A.    I believe so.

        25        Q.    And what rtype of assistance are parole agents


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    1    providing to those parolees?

    2         A.      The way I understand it, trying to help them

    3    find a job.        At least to help them not return back.

     4        Q.      Have you read anything else that suggests that

     5   parole officers spend the majority of their time

     6   actually in law enforcement capacity rather than in an

     7   assisting capacity?

     8        A.      That's the other side of the coin.        yes,   sir;

     9   it's primarily a surveillance issue.

   10         Q.      So they're not spending very much of their time

   11     assi~ting the      parolee?

   12         A.      No.
   13         Q.      If you can turn the page, please.         Just before

   14     it starts with paragraph 9, it says that,         in the middle

    15    of the paragraph, it says,      "The fact is that a portion

    16    of the release-order parolees will re-offend for new

    17    crimes that will require placement in county jails until

    18    returned to the CDCR institution."        Do you see that?

    19        A.      Yes, sir.

    20        Q.      And then you go on to talk about the fact that

    21    that "will exacerbate the overcrowding problems at the

    22    county levels."       Do you see that?

    23        A.      Yes, sir.

    24        Q.      Tell me to what extent it will exacerbate the

    25    problems.


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        1            A.   Well, if you arrest -- you know,     you have the

        2    normal stuff that's going      OD.   And on top of that, if

        3    you add others that corne in c.ontact with the criminal

        4    justice system via arrest and incarceration in the jail,

        5    you're adding more people to the mix; you're adding· more

         6   people to the county jail of which they have to

        7    supervise.      And you're going to exacerbate the problems

        8    of overcrowding, bed space, and all those things at the

         9   county level.

       10            Q.   Right.   I understand that.     But I want to know,

       11    could you quantify that for me, please?

       12            A.   It just depends on how many people are

       13    released.

(      14            Q.   Let's say 10,000 people are released over the

       15    period-of a year.       What percent of crowding now would

       16    the L.A. County Jail have to handle in that situation?

       17            A.   Well, we know that based on current estimates,

        18   we know that 50 percent of them are going to come back.

        19    So ~hat's 5,000 people.

        20                So how many people out of the 5,000 are from

        21    L~A.    County?   A third?

        22                So let's just round it off.      That's 2,000

        23    additional people that are going to be in L.A. county.

        24    And do they have space for them in L.A. county as we

        25    speak.


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              Q.     How many people do they arrest in L.A. county

          over the year?

              A.     That come through the jail?        I would estimate

          4-, 5,000 people.

              Q.     It's a million, right?

              A.     Yes;

              Q.     So 5,000 out of a million; what's that?

              A.     It·'s a very low percent . . What you're talking

          about is the aggregate.       I'm talking about the

          individual.       Again, it boils down to the fact that

          you're adding, I don't care whether it's 10, 20, or 30,

          you're adding more people to the mix of which they have

          to figure out a space to house them, to feed them, to

          take care of them, to provide recreation.           You're adding

          an undue workload to them to take care of these people.

                     Plus you're adding to the fact that they've

          committed some kind of      a crime, to return to jail.         So

          we're also dealing with crime victims in. the local area.
                                                                   !

              Q.     Is it your contention that everybody who is

          rearrested for a parole violation commits a new crime?

              A.     No.

              Q.     What percentage commits a new crime?

              A.     It's based on one of my reports -- I had a

          chart in there.       1 1 m looking at a table here --

              Q.     What are you looking at?


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        1        A.     "Administrative violations versus new criminal
        2    convictions of California       parole~s    returned to prison
        3    1980 to 2004."
        4        Q.     Where is that table?
        5               MR. ANTONEN:    In the supplemental report.
        6               MR. SPECTER:    Page what?

        7               THE WITNESS:    Nineteen.
        8               MR. SPECTER:    Q.    Okay.    And so it's divided
        9    into new criminal convictions and administrative
       10    violations.
       11        A.     Right.    So the vast majority of people are
       12    either a new conviction or some kind of an
       13    administrative decision with a criminal violation.

(      14        Q.     Right.    But. you understand that the 80 percent,
       15    what you call "administrative" criminal violations are
       16    80 percent of technical violations?
       17        A.     That is correct.
       18        Q.     And so when they have -- did you understand
       19    what, they haven't been convicted of anything in a
       20    court, right?
       21        A.     Right.
       22        Q.     Instead they have gone to a parole revocation
       23    hearing?
       24        A.     Dh-huh.
      c25        Q.     Do you know what Morrissey v. Brewer is?


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(        1        A.       It's an old parole case.
         2        Q.       It is.    It defines the level of due process

         3    that you're entitled to with a parole hearing.               Is that

         4    greater, the same as, or less than the amount of time

         5    you're allowed?

         6        A.       It's probably a little less than.
         7        Q.       Do you know what the procedures are?
         8        A.      No, I don't.

         9        Q.      You wouldn't have a degree of confidence in

        10    determining whether in fact those procedures would

        11    adequately determine whether a person is guilty or not

        12    guilty of the charge or offense, would you?

        13        A.       That's a possibility.       But the point is they
                           /




(       14    did something to cause the fact that they were going to

        15    be reincarcerated again.         In other words, they didn't

        16    pee in a bottle and it came up with a dirty urine

        17    analysis.        They did something that the District Attorney

        18    thought,     "We need to get them off the street."

        19        Q.      Actually, the District Attorney doesn't get

        20    those people off the streets, does it?
        21        A.       Maybe not.
        22         Q.      It's the parole board.
        23        A.       Yes.     So they did something that -- it's like a

        24    preemptive strike.
        25         Q.      And do you know how many of those, what you


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(       1     call "criminal" violations are for drug-related

        2     offenses?

        3         A.      I do not.
         4        Q.      For examp1e, do you know how many of them are

        5     just for using drugs?
         6        A.      I do not.
        7         Q.      Or for just possessing drugs?

        8         A.      Well,    th~   other thing is tnat they may have

         9    been doing something, maybe they caught them doing

       10     something,' and yet they were in possession of drugs at

       11     the same time.

       12         Q.      So you don't know, do you?
       13         A.      Nobody knows.

(      14         Q.      You don't know?
       15         A.      I don't know.
       16         Q.      Is it possible that other people know?
       17         A.      It's possible.       It would be very interesting to

       18     get into the exact specifics of those.
       19         Q.      I think there are specifics that Peters ilia

       20     relies on, and how many of those involve drug usage and

       21     possession.     Are you aware of those statistics?
       22         A.      Right.     But she also framed the issue that they

        23    had done something and they were returned to the

        24    institution for something that was, quote,               criminal.

        25    But the problem is, and I agree, is that they need to


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(       1    have some sort of conclusion of that criminal case.

        2         Q.   So the fact that you have these administrative

        3    violations doesn't in fact mean that a crime has

        4    occurred, does it?

        5         A.   That's true.

        6         Q.   Do you know, do you have an opinion about

        7    whether a person who has peen charged with a misdemeanor

        8    offense while on parole, do you know tpat the parole

        9    system sends most of those back to prison as parole

       10    violators?   Are you aware of that?

       11         A.   I'm not.

       12         Q.   Do you have an opinion about whether it's

       13    appropriate to use the parole system to send -- well,

       14    are you aware    of the fact that district attorneys don't
       15    prosecute offenses, and they let the parole board do it,

       16    so it gets sent back for a certain period of time?

       17         A.   Yes.    It's an administrative issue, so it keeps

       18    them out of, in lieu of the criminal justice system.

       19         Q.   Do you have an opinion whether that's an

       20    appropriate use of the parole revocation process?

       21         A.   Until I would read the exact case in a file,          I

       22    wouldn't render an opinion.      It may be appropriate for

       23    certain kinds of offenders.

        24        Q.   So anyway, getting back to the L.A. County Jail

        25       well, let me see if I can speed this up a little bit.


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(        1              You read Dr. Austin's report where he analyzes

         2    data on three counties?
         3        A.    Yes, sir.
         4        Q.    Do you remember what those three counties are?
         5        A.   Alameda --
         6        Q.   No.        Amador.
         7        A.   Amador, that's it.
         8        Q.   What were the other two?
         9        A.    Fresno and Los Angeles.
        10        Q.   And he concludes, based on the data from the

        11    Department of Corrections, that it will have less than 1

        12   percent, a 1 percent effect on the arrest and bookings,
       13     and the like.        Do you remember that conclusion?
        14        A.    I   do.
        15        Q.    Do you have any reason to believe the data

        16    doesn't say what Mr. Austin says it says?
        17        A.    He can say whatever he wants to say.
        18        Q.    Do you have any reason to believe that the data

        19    doesn't support Dr. Austin's conclusions?
        20        A.    Not at this time.       But again, what you're

        21    dealing with is a percentage rather than the human

        22    being.   And I'm not going to go there.
        23              Okay; 1 percent in L.A.       To the person on the-

        24    street, if you say 1 percent, that sounds pretty good.

        25    But you take that 1 percent, you talk to the rape victim


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(        1    or the theft victim or the arson victim, it's a

         2    different thing.

         3               I'm not going to use those kinds of strategies

         4    to minimize the impact on the individual.               He's coming

         5    at it this way, and I'm coming at it from over here.

         6        Q.     So in your way of looking at things, if you did

         7    a prisoner release order and one additional property

         8    crime was committed, that would be too much .,_ Is that

         9    right?

       10         A.     It would be very difficult to swallow if we had

       11     to do that and it led to victimization, yes.

       12         Q.     You wouldn't support anything that --

       13         A.     I don't know about one.       But certainly one

(      14     violent crime would be hard to swallow for me.               All the

       15     more reason, as I have suggested, that this be done in a

       16     slow, methodical way, and not obfuscated by saying 1

       17     percent, and 2 percent here.         Those 1 percent and 2

       18     percents equal human bodies.

       19         Q.     In any way that you reduce the prison

       20     population, can you guarantee there wouldn't be one

       21     additional crime that was committed?

        22        A.     I can't guarantee it.       Nobody can.
        23        Q.     So any criminal justice policy, any change in

        24    the criminal justice policy, could result in one

        25    additional property crime being committed,              correct?


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        1         A.     It could.

        2         Q.     In fact,    in California, as we talked about this

        3    morning with the bridging program, that let people out

        4     of prison early --

        5         A.     My thing is, why would you want to do that?

         6    You want to take the risk.        I don't.     I don't want to

        7     take that risk.       You want to assume the 1 percent.           One

        8     percent out of 30,000 is what, 300 people?               That's 300

         9    victims.    That's a lot of people.        I don't want to

       10     assume that.

       11         Q.     That's fair enough.      But you need to offer an

       12     alternative which eliminates any risk.

       13         A.     I think you've got to go through this in a very

(      14        like I said before.        You've got to do i t slowly, with

       15     all deliberate speed.        Take your time and get it right.

       16     There's not some kind of a blanket release where you're

       17     going to let them all go.        We can't do that.

       18                Let's get the programs in place; let's try to

       19     help these people make it on the         street~    I'm for having

       20     them make it.      Why can't we agree?

       21                It's like in the insurance
                                          ,         business.             That's

       22     basically what we're talking about.           But I have respect

       23     for the individual.       The 1 percent, the 2 percent,

        24    obfuscates that fact.

        25        Q.     You said, before, the fact that length of stay


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(       1    doesn't have any impact on the crime rate.             If that's

        2    true, isn't the level of crime the same?          They're just

        3    going to maybe commit them a few months earlier than

        4    they would have.

        5         A.   But why do we want that to happen?           Why would

        6    we want that?

        7         Q.   Okay.

        8         A.   The goal is to put things in place so they

        9    won't come back.

       10         Q.   You understand, even if you provide all the

       11    programs that we talked about this morning,            it doesn't

       12    have a 100 percent success rate; right?

       13         A.   That's true.

(      14         Q.   In fact, the success rate is, what is it?

       15    About 10, 20 percent rate?

       16         A.   That's right.
       17         Q.   That's high.    No matter what you do,         even if

       18    you had all those programs, people are not going to be

       19    successful.     They're still going to come back.          Right?
       20         A.   That's true.
       21         Q.   So even under your scenario, you're still going

       22    to have crime.

       23         A.   That's right.
       24         Q.   On page 19, paragraph 10, of your supplemental

       25    report -- wait a minute.     Sorry.     No,   I'm not getting



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(       1     mixed up.

        2                 You say, "Little insight into the impact of a

        3     massive prisoner release order is gained by sterile

         4    statistical manipulations suggesting that the release of

        5     some 40,000 prisoners will have, on the aggregate,

         6    minimal or no impact on the communities and citizens of

        7     California."

        8                 So.it seems to me that's a direct attack on

         9    Dr. Austin's analysis.
       10         A.      That's true.
       11         Q.      And you're saying here that these sterile

       12     statistical manipulations don't provide any insight into
                            '"
       13     the impact of the prisoner release order.              Is that

(      14     right?
       15         A.      That's right.
       16         Q.      And the fact that he is able to quantify the

       17     impact on particular counties and show that it's less
       18     than 1 percent doesn't provide any insight.              It's not

       19     helpful.
        20        A.      It is helpful, but it's sterile.           All right?

        21    It's sterile to the point that saying that it's going to

        22    have no impact is ridiculous.        It's going to have an

        23    impact.     All right?
        24                And I just repeated this, I stated this before,

        25    and I'll repeat it again.        We can say all day long about


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(       1    1 percent, 2 percent, or whatever.          The fact of the

        2    matter is, when you're dealing with tens of thousands of

        3    people, potentially, who could be released, 1 percent

        4     sounds like no big deal.

        5                 But at the end of the day, that 1 percent out

        6    of 30,000 people, that's 300 victims.

        7                 So my point is, we can statistically play these

        8    shell games and do all that, but pt the end of the day

        9    there's still going to be 300 victims in the State of

       10    California.

       11                 I'm not ready to go down that line and say that

       12    that's okay.       I don't want to say that that's just part

       13    of doing business, okay?        Those are 300 people who have

(      14     a right to have some say along, in this.           That's a lot

       15     of people.

       16         Q.      And

       17         A.      And the 1,percent or the 2 percent obfuscates

       18     all that.     It sounds appealing, and it sounds as if

       19     that's an acceptable level that we can deal with.

       20         Q.      What's an acceptable level to you?

       21         A.      I don't know.

       22         Q.      You used the word "shell game."

       23         A.      Right.

       24         Q.      You think Dr. Austin's analysis is a shell

       25     game?    That implies fraud.


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              A.     Not necessarily fraud.     It's playing with the

          numbers.   Again, Dr. Austin's perspective, and I have

          respect for him in terms of all the things he's done in

          his lifetime, but I think he's wrong here.           Again, we

          can statistically manipulat~ this until the cows come

          home.    The point is, we need to do everything we can to               ,

          not have victims.

                     Maybe that's naive on my part.       My thing is,_

          let's put the programs in place, let's do this stuff

          first, before we unleash people on the rest of society.

                     I don't want them living next door to me.          The

          issue is, do you want them living next door to you?

              Q.     They already are.

              A.     I don't want them around me.

              Q.     You said, referring to your rebuttal report,

          you were talking about doing a systemic,        empirical

          investigation.    Do you remember that?

              A.     Where is that?

              Q.     In your rebuttal report.

              A.     That was about overcrowding.

              Q.     So it's all right to do these sterile

          statistical manipulations about overcrowding but not

          about prisoner release?

              A.     I think they're two different things.          One's

          talking about releasing a large group of people on the


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    1    general public.    Another one is dealing with people who

    2    are already incarcerated.
    3         Q.    And maybe subject to violence, maybe,          over

    4    conditions over which they have no control.            Why would

    5    sterile manipulations be acceptable for them but not

    6    acceptable for victims in the free community?
    7         A.    It's the same thing.     We need to be awfully
                                                                          (
    8    careful about making such global statements, about

    9    having global impact.     It's irresponsible.
   10         Q.    If crowding led to violence in the prison,                it

   11    would not be acceptable.     Right?
   12         A.    I wouldn't like it.
   13         Q.    Would it be acceptable or not acceptable?
   14         A.    r wouldn't like it.
   15         Q.    In your opinion, the population in the prison

   16    should be reduced to the amount in which crowding
   17    doesn't create more violence.       Isn't that right?
   18         A.    If we can find a link that says 100 percent,

   19    crowding has led to this.

   20         Q.    And we have to use sterile manipulation of

   21    numbers.    Is that right?
   22               MR. ANTONEN:   Objection, argumentative.           Go

   23    ahead.
   24               THE WITNESS:   A study like that would be a
   25    statistical manipulation of the data, there's no doubt


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(":       1    about it.
          2                MR. SPECTER:      Q.   And it would provide little
          3    insight to you, though.
          4         A.     It is some insight,
          5         Q.     But is it little insight, because they're
          6    prisoners and not prison people in the free community?
          7         A.     I never said that, no.
          8         Q.     Have you read Dr. Petersilia's National
          9    Institute of Justice study in which she suggests that
         10    diverting technical parole violators and less serious
         11    property and drug crimes would reduce prison admissions
         12    by 25 percent?
         13        A.      Yes, s.i r .
         14         Q.     Do you know whether those recommendations were
         15    adopted in California?
         16        A.      I don't.
         17         Q.     I'll represent to you that they weren't
         18    adopted.
         19         A.     They were?
         20         Q.     Were not.
         21        A.      Were not.
         22         Q.     She did that study in 1997, correct?
         23        A.      I believe so.
         24         Q.     Do you think that's a suggestion that has
         25    merit?


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(        1        A.      Can you read i t one more time for me.
         2        Q.      "Diverting technical parole violators and less

         3    serious property and drug crimes."

         4        A.      That's a good idea.          That's what we did in

         5    Texas.     What we created was a -- if you don't mind if I

         6    digress for a minute.

         7        Q.      Sure.

         8        A.      What happened in that state complies exactly

         9    with that statement, that recommendation.                   We did that,

        10    probably in the mid-1990s: created a whole separate

        11    layer.     Maybe you would want to recommend this here.

        12    They created something called the state jail system, and

        13    that's a buffer between the community and the
(       14    penitentiary.

        15                And state jails are places where people go for

        16    up to two years, and they are, technically or legally

        17    speaking, they're probationers.             And they go to these

        1~    state jails in lieu of going to the penitentiary, and in

        19    the jails they get substance-abuse training and things

        20    of that nature.

        21                So what you're doing, you're creaming those

        22    kinds of people out to provide programing for them to

        23    stop- them from coming into prison; to get out so they

        24    don't head into the mix.

        25                And you're also, what we both agree, on/ is


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        1    using the prison as the best, unfortunately, the best
(
        2    resource for the most dangerous people.

        3         Q.   Do you understand that -- we've gone over the

        4    fact that the courts have found that the prison

        5    conditions are unconstitutional.      And that they are, at

        6    least because they aren't being able to provide, the

        7    Department isn't providing adequate medical and mental

        8    health care.   You understand that, right?

        9         A.   Yes, sir.

       10         Q.   And you understand that if you're not able to

       11    provide medical and mental health care that people can

       12    get, prisoners will be harmed by that.        Do you

       13    understand that?

       14         A.   What do you mean?

       15         Q.   Because if you're sick and you don't get

       16    adequate medical care,     you get sicker, or you get a

       17    serious injury, or you die.

       18         A.   Right.     I just wanted to clarify that.

       19         Q.   Right.

       20         A.   That is correct.

       21         Q.   So they would be victims of unconstitutional

       22     conditions.   Right?

       23         A.   Correct.

       24         Q.   And so assume for the moment that we're able to

       25    prove that crowding is the cause of unconstitutional


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         medical care.       Do you think, when you're balancing the

         rights of the victims on the outside who might get hurt

         if prisoners are released, you should take into account

         prisoners who may be victims of unconstitutional care in

         the prison system?

              A.     Yeah.   I'm not here to say th~y should go

         without.     I'm not trying to run some tyrannical

         institution where we're      goi~g   to be devoid of medical

         care.

                     When I worked there, one of the first things I

         saw that horrified me is that there weren't enough

         doctors.     We would call inmates out at night if somebody

         got hurt, and then an inmate would come in.             One guy got

         in a fight one night and got his nose broken.             We didn't

         call the doctor.      We called an inmate in and the inmate

         set the guy's nose.

                     I've seen all that.      I've seen inmates holding

         other inmates down while another one sutured him up with

         12 to 15 stitches.       I don't like that any more than

         anybody else does.

                     As a result of those things, in our state a lot

         of those things have been rectified.          There's no sense

          sending people in there to get worse.

                     Another friend of mine ~as also the unit

         psychologist.       You had one psychologist for 3,200


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            1        inmates.
(   )                              It's ridiculous.

            2                     So I've seen it firsthand.     And I'm not in any

            3        way advocating short-changing those people as well.            I

            4        think you've got to protect people inside as much as we

            5        try to do that with people out here.

            6              Q.    Your report relies on Jeremy Travis's testimony

            7        to the Little Hoover Commission.       Do you recall that?

            8              A.    Yes,    sir.

            9              Q.     In that. testimony he made several

           10        recommendations for reform.       Do you recall that?

           11              A.     I believe so.

           12              Q.     Do you believe those are appropriate

           13        recommendations?

(   )      14              A.     I would have to read them again,     but I did like

           15        his   t~stimony.

           16              Q.     I can get it for you.   I don't have it right

           17        here.      When we take our next break I can get it.

           18                     The expert panel, you reviewed their

           19        recommendations, did you not?

           20              A.     Yes,   sir.

           21              Q.     In your first report, going back there for a

           22        little bit,     on page 7, the last sentence in the middle

           23        paragraph, do you see that?

           24              A.     Can you read me the -- which sentence?
                 ,
            25             Q.     "More inmates reduce the staff's ability to


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         1
                                  CERTIFICATE OF REPORTER
(,       2

         3               I,   KAREN A.    FRIEDMAN,   a Certified Shorthand

         4   Reporter,    hereby certify that the witness In the

         5   foregoing deposition was by me duly sworn to tell the

         6   truth,   the whole truth and nothing but the truth in the

         7   within-entitled causei

         8               That said deposition was taken down in

         9   shorthand by me,      a disinterested person,             at the time and

       10    place therein stated,         and that the testimony of the said

       11    witness was thereafter reduced to typewriting,                  by

       12    computer, under my direction and supervisioni

        13               I further certify that I am not of counselor

        14   attorney for either or any of the parties to the said

        15   deposition,      nor in any way interested in the event of

        16   this cause,      and that I am not related to any of the

        17   parties! thereto.

        18

        19                     DATED:      /)&~ Ii
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